
35 N.Y.2d 722 (1974)
In the Matter of Richard Kessel, Appellant,
v.
Isabel Dodd et al., Constituting the Board of Elections of the County of Nassau, and Norman J. Levy et al., Respondents.
Court of Appeals of the State of New York.
Argued October 10, 1974.
Decided October 17, 1974.
Max Goldweber for Richard Kessel, appellant.
Donald X. Clavin for Norman Levy, respondent.
Concur: Chief Judge BREITEL and Judges GABRIELLI, JONES, WACHTLER and RABIN. Judge JASEN concurs in result for the reasons stated in the memorandum at the Appellate Division. Taking no part: Judge STEVENS.
Order affirmed, without costs (see Matter of Wydler v. Cristenfeld, 35 N Y 2d 719). Moreover, in addition to the comments by this court, in the Wydler case, it is noted that this case does not involve a statutory requirement but one directed only to optional internal party rules.
